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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA
                                Criminal No. 21-cr-173 (PJS/DTS)



UNITED STATES OF AMERICA

                        Plaintiff,                  [Proposed] ORDER
        v.

ANTON JOSEPH LAZZARO et ano.,

                        Defendants.



        WHEREAS, on October 28, 2021, Defendant Anton Lazzaro filed a Motion to Vacate

Restraints on Certain Seized Property, including a supporting Memorandum of Law, Declaration

and Exhibits (Docs. 74-75) (“the Motion”);

        WHEREAS, on November 2, 2021, the Court issued a Briefing Order/Notice of Hearing

(Doc. 77), that, inter alia, required the government to respond to the Motion by November 23,

2021;

        WHEREAS, the government has failed to file any response to the Motion, and

        WHEREAS, Mr. Lazzaro filed a request on December 3, 2021 that the Court grant the

Motion without opposition.

        NOW, THEREFORE, IT IS HEREBY ORDERED as follows:

        The Motion of Defendant Anton Lazzaro to Vacate Restraints on Certain Seized Property

is GRANTED for the reasons set forth in the supporting Memorandum of Law, Declaration and

Exhibits, and it is further

        ORDERED that the government shall release and return the following seized property, as

directed by Mr. Lazzaro’s counsel, within ___ days of the date of this Order:

                                                                                                1
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            1) $371,240 in United States currency seized on December 15, 2020 during
               execution of a search warrant signed by Magistrate Menendez;

            2) The 38 laptop computers, tablets, cellular phones and digital storage media listed
               at paragraphs 11(d) through 11(y) of the Indictment also seized at the time of the
               search warrant was executed on December 15, 2020;

            3) A 2010 Ferrari convertible VIN ZFF65LJA9A0173846 seized on August 13,
               2021, and

            4) A Google Pixel mobile phone seized from Mr. Lazzaro at the time of his arrest,

        and it is further

        ORDERED that, in the event the government has not retained the seized currency in the

form in which it was seized, the government shall, within ___ days of the date of this Order, wire

transfer $371,240 to an account designated by Mr. Lazzaro’s counsel, together with interest at

the legal rate from the date of seizure, and it is further

        ORDERED that the Court shall retain jurisdiction to enforce the terms of this Order.

Dated: December __, 2021

                                                SO ORDERED:




                                                _________________________
                                                David T. Schultz
                                                United States Magistrate Judge




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